          Case 1:12-cr-00349-LJO-SKO Document 68 Filed 08/12/13 Page 1 of 2


 1 SALVATORE SCIANDRA, Bar No. 58256
     Law Offices of Salvatore Sciandra
 2 2300 Tulare Street, Suite 230
     Fresno, California 93721
 3 Telephone: 559.233.1000
     Facsimile: 559.233.6044
 4 E-Mail: salsciandra@sbcglobal.net
 5 Attorney for Defendant, JOSE ARELLANO
 6
 7
 8                                 UNITED STATE DISTRICT COURT
 9                                EASTERN DISTRICT OF CALIFORNIA
10                                                     )   Case No. 1:12-CR-00349-LJO
     UNITED STATES OF AMERICA,                         )
11                                                     )   STIPULATION AND ORDER FOR A
                    Plaintiff,                         )   RESETTING OF HEARING ON REPORT
12                                                     )   OF PROBATION OFFICER
     v.                                                )
13                                                     )
     JOSE ARELLANO,                                    )
14                                                     )
                    Defendants.                        )
15                                                     )
                                                       )
16
17
18           IT IS HEREBY STIPULATED by and between plaintiff, the United States of America, and

19 the defendant by and through his attorney, that the date set for hearing on the presentence report of
20 the probation officer and sentencing be extended as follows:
21                  Defense Counsel’s Informal objections due to Probation and AUSA:
22                  Move from August 12, 2013 to September 23, 2013.

23                  Formal Objections must be filed with the Court and served on
                    Probation and AUSA: move from August 26, 2013 to October 7,
24                  2013.
25
26                  RPO Hearing: move from 8:30 a.m. on September 3, 2013 to 8:30
                    a.m. on October 15, 2013.
27
28
       Case 1:12-cr-00349-LJO-SKO Document 68 Filed 08/12/13 Page 2 of 2


     The reason for moving the hearing is because of the complexity of the sentencing guideline issues
 1
 2 and further negotiations with the government concerning their recommendation for appropriate
 3 sentence.
 4                                                        Respectfully submitted,
 5
 6
 7 DATED: August 12, 2013                                  /s/ Salvatore Sciandra
                                                          SALVATORE SCIANDRA
 8                                                        Attorney for Defendant,
                                                          JOSE ARELLANO
 9
10
11 DATED: August 12, 2013                                  /s/ Kimberly A. Sanchez
                                                          KIMBERLY A. SANCHEZ
12                                                        Assistant United States Attorney
13                                                        This was agreed to via email on Aug. 9, 2013
14
15                                                  ORDER
16
17
18 IT IS SO ORDERED.
19
        Dated:                    August 12, 2013            /s/ Lawrence J. O’Neill
20          DEAC_Signature-END:
                                                          UNITED STATES DISTRICT JUDGE

21          b9ed48bb
22
23
24
25
26
27
28
                                                      2
